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          Defendants’
          Exhibit 254

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                                                                                    Page 1
·1· · · · · · · · · · · · · · ·J. Coburn
·2· ·UNITED STATES DISTRICT COURT
·3· ·SOUTHERN DISTRICT OF INDIANA
·4· ·------------------------------x
·5· ·GENESYS TELECOMMUNICATIONS
·6· ·LABORATORIES, INC.,
·7· · · · · · · · · Plaintiff,· · · · · ·Case No.
·8· · · · · · · v.· · · · · · · · · · 1:19-CV-00695-TWP-DML
·9· ·TALKDESK, INC., et al.,
10· · · · · · · · · Defendants.
11· ·------------------------------x
12
13· · · · ***CONFIDENTIAL - UNDER PROTECTIVE ORDER***
14
15· · · · VIDEOCONFERENCE DEPOSITION OF JESSICA COBURN
16· · · · · · · · ·Indianapolis, Indiana
17· · · · · · · · Tuesday, February 4, 2021
18
19
20
21
22
23· ·Reported by:
24· ·DEBORAH C. FUREY, RPR, CLR, CRI
25· ·JOB NO. 189415


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·Q.· · Yeah.· No.· Understood.
·3· · · · · · ·Were you -- did you collect documents
·4· ·for this case and provide them to attorneys?
·5· · · ·A.· · Yes.
·6· · · ·Q.· · Okay.· When did you do that?
·7· · · ·A.· · It's been over the last couple of years
·8· ·as questions come up.· I've been the facilitating
·9· ·factor in finding some of the documents.
10· · · ·Q.· · Okay.· For example, did you locate
11· ·Mr. Manno's employment agreement with Interactive
12· ·Intelligence?
13· · · ·A.· · I assisted in locating that, yes.
14· · · ·Q.· · Okay.· Can you tell me where that was
15· ·located?
16· · · ·A.· · I can tell you.· I believe that that
17· ·document was located in his -- in a file, in a
18· ·locked file room in the Indianapolis office.
19· · · ·Q.· · Who located the actual file itself?
20· · · ·A.· · I'm not sure.
21· · · ·Q.· · You're not sure, okay.
22· · · · · · ·Was this a paper -- this was a paper
23· ·copy of the agreement?
24· · · ·A.· · Yes.
25· · · ·Q.· · You said it was in a locked file room.


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·Was it with other employment files relating to
·3· ·Mr. Manno?
·4· · · ·A.· · It was in a file room that had all of
·5· ·the previous interactive files in it.
·6· · · ·Q.· · Okay.· Do you know if that was located
·7· ·after Mr. Manno left his employment with Genesys?
·8· · · ·A.· · I don't know for sure.
·9· · · ·Q.· · When about was it located?
10· · · ·A.· · I mean, my assumption is that it was
11· ·looked at after, when I was asked to help find it.
12· · · ·Q.· · You were asked to find it after
13· ·Mr. Manno left --
14· · · ·A.· · I believe.
15· · · ·Q.· · -- his employment?
16· · · ·A.· · I believe so.
17· · · ·Q.· · What about Mr. Strahan's employment
18· ·agreement, where was it located or did you assist
19· ·in locating that?
20· · · ·A.· · I assisted in locating it and I believe
21· ·it was also in the Indianapolis office.
22· · · ·Q.· · Was it also in this locked file room?
23· · · ·A.· · Yes, I believe so.
24· · · ·Q.· · And who had access to this locked file
25· ·room?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · The HR operations team.
·3· · · ·Q.· · Would Mr. Manno or Mr. Strahan have had
·4· ·access to that room?
·5· · · ·A.· · No.
·6· · · ·Q.· · For Mr. Strahan, when did you locate or
·7· ·when did you assist in locating his employment
·8· ·agreement?
·9· · · ·A.· · I don't know the specific dates.
10· · · ·Q.· · Is your assumption that it would have
11· ·been after he left employment with Genesys?
12· · · ·A.· · That's a fair assumption.
13· · · ·Q.· · You say you provided -- I believe you
14· ·said documents and e-mails.· Let me just clarify.
15· · · · · · ·You have provided documents and e-mails
16· ·to counsel, based on personal searches you've done
17· ·in this case?
18· · · ·A.· · I believe so, yes.
19· · · ·Q.· · Did you assist in locating Mr. Hertel's
20· ·employment agreement?
21· · · ·A.· · I believe I would have had a team
22· ·helping me find that.
23· · · ·Q.· · Okay.· Do you know where it was located?
24· · · ·A.· · I don't.
25· · · ·Q.· · Do you know when you would have had a


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·team search for that?
·3· · · ·A.· · I'm assuming it would be after
·4· ·Mr. Hertel left.
·5· · · ·Q.· · Do you know if that was in paper copy?
·6· · · ·A.· · I don't, no.
·7· · · ·Q.· · I don't think I asked you, but
·8· ·Mr. Strahan's in a locked file room, that was in a
·9· ·paper file?
10· · · ·A.· · I believe so.
11· · · ·Q.· · To your knowledge, are you aware that
12· ·Genesys ever provided a copy of the Interactive
13· ·Intelligence agreement to Mr. Manno, their
14· ·respective agreements, to Mr. Manno, Mr. Strahan
15· ·or Mr. Hertel, while they were employed by
16· ·Genesys?
17· · · ·A.· · I'm sorry.· Would you rephrase your
18· ·question, please?
19· · · ·Q.· · Sure.· So let's just go down the list.
20· · · · · · ·Are you aware that Genesys ever provided
21· ·a copy of Mr. Manno's employment agreement to him
22· ·while he was employed with Genesys?
23· · · ·A.· · I don't know.
24· · · ·Q.· · You personally did not provide him a
25· ·copy?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · I personally did not.
·3· · · ·Q.· · Because based on memory, you didn't see
·4· ·the copy until after the case or -- excuse me --
·5· ·after they left employment, is that correct?
·6· · · ·A.· · Correct.
·7· · · ·Q.· · As to Mr. Strahan, are you aware of
·8· ·Genesys ever providing him a copy of his
·9· ·employment agreement, while he was employed with
10· ·Genesys?
11· · · ·A.· · Not that I'm aware of.
12· · · ·Q.· · You personally did not provide him one?
13· · · ·A.· · I don't remember providing him anything.
14· · · ·Q.· · And you personally don't remember seeing
15· ·a copy of his employment agreement until, you
16· ·assume, after he left his employment with Genesys?
17· · · ·A.· · Yes.
18· · · ·Q.· · Same question for Mr. Hertel:· You are
19· ·not aware that Genesys ever provided a copy of
20· ·Mr. Hertel's employment agreement to him while he
21· ·was employed with Genesys?
22· · · ·A.· · Correct, I'm not aware of that.
23· · · ·Q.· · Are you aware of Genesys providing a
24· ·copy of Ms. Morales' employment agreement to her
25· ·while she was employed with Genesys?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · I am not aware of that.
·3· · · ·Q.· · Okay.· Have you reviewed Ms. Morales'
·4· ·employment agreement recently?
·5· · · ·A.· · No.
·6· · · ·Q.· · Have you ever reviewed it, to your
·7· ·knowledge?
·8· · · ·A.· · I don't remember reviewing hers.
·9· · · ·Q.· · Let's talk about your background.
10· · · · · · ·One, I have a copy of your LinkedIn
11· ·profile which is, obviously, how everybody learns
12· ·anything about anyone.· So I just want you to
13· ·verify a few things about what your LinkedIn
14· ·profile says.· I'm assuming it's correct, but let
15· ·me know if it's not.· I won't share with you
16· ·because you have it, I'm sure.· I'm just going to
17· ·verify the information.
18· · · · · · ·You are currently in HR.· Your role is
19· ·HR business partner with Genesys, is that correct?
20· · · ·A.· · Yes.
21· · · ·Q.· · And you've been in that role since May
22· ·of 2017?
23· · · ·A.· · Yes.
24· · · ·Q.· · It says you've -- I'm going to read this
25· ·quote. "Advise/coach and consult managers,


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·frequently or would you say that they're very
·3· ·infrequent?
·4· · · ·A.· · It is typically very seasonal, as far as
·5· ·the start of a year, the end of a year, our higher
·6· ·volume recruiting, because that is when you're
·7· ·getting new territories set, things like that, in
·8· ·a sales organization.
·9· · · ·Q.· · Okay.· So I guess my question is over
10· ·the course of the full year.· I'm just trying to
11· ·get a picture of how many people Genesys is
12· ·looking to hire over the course of a year.
13· · · ·A.· · I really -- I can't give you an accurate
14· ·answer, Mr. Moreland, I don't know.
15· · · ·Q.· · Okay.· Do you recall receiving any of
16· ·these talent acquisition requests in the last
17· ·month?
18· · · ·A.· · In the last month?
19· · · ·Q.· · Yes.
20· · · ·A.· · Yes, absolutely.
21· · · ·Q.· · How many?
22· · · ·A.· · In the month of January there have
23· ·probably been 20 to 30 requests for requisitions.
24· · · ·Q.· · Is January a seasonal month, a higher
25· ·month than normal?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · It is.
·3· · · ·Q.· · Okay.· Do you recall any month, in the
·4· ·course of your time since May, 2017 to today, that
·5· ·you have not had a request for talent through the
·6· ·requisition request?
·7· · · ·A.· · I don't know.
·8· · · ·Q.· · Okay.
·9· · · ·A.· · It may have happened.· I don't know.
10· · · ·Q.· · Okay.· How many employees does Genesys
11· ·have?
12· · · ·A.· · Genesys has roughly 5,000 employees
13· ·globally.
14· · · ·Q.· · Okay.· Can you tell me what all
15· ·territories Genesys is located in?
16· · · ·A.· · Do you mean all countries?
17· · · ·Q.· · Geographically, yes, all countries.
18· · · ·A.· · I don't think that I could actually get
19· ·into the specific countries, especially when you
20· ·are looking at like APAC, and things like that.                     I
21· ·don't know where we have individuals in each of
22· ·those countries.
23· · · ·Q.· · But, Genesys is located in Europe?
24· · · ·A.· · Yes.
25· · · ·Q.· · And APAC, as you said?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · Correct.
·3· · · ·Q.· · Are you handling recruiting for those
·4· ·offices?
·5· · · ·A.· · No.
·6· · · ·Q.· · You're just handling recruiting for the
·7· ·U.S., correct?
·8· · · ·A.· · I handle recruiting for North America.
·9· · · ·Q.· · Which would include Canada, obviously?
10· · · ·A.· · Correct.
11· · · ·Q.· · So back to the question of -- I'm trying
12· ·to just get an understanding of -- if Genesys has
13· ·20 to 30 requisition requests, requests for
14· ·talent, in January of 2021, how many of -- I mean,
15· ·is it typical that Genesys is going to fill all of
16· ·those available or, I guess, requests that have
17· ·been made?
18· · · ·A.· · Yes.· I mean, that's the intention,
19· ·that's why it's been opened.
20· · · ·Q.· · Okay.· Do you know how many of the 20 to
21· ·30 that you just mentioned would have been in the
22· ·sales group?
23· · · ·A.· · So the 20 to 30 I referred to are over
24· ·three different sales organizations of Genesys
25· ·currently.


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · · · · ·I understand you're asking a specific
·3· ·question.· I am trying very hard to give you an
·4· ·answer, but I want to give you an accurate answer
·5· ·and I don't have that.
·6· · · ·Q.· · And, again, I'm asking you for a range.
·7· ·I don't need an accurate answer, I need a range.
·8· · · · · · ·In your mind was it five people that you
·9· ·hired in 2020 in the sales group or was it more
10· ·than 100?
11· · · ·A.· · I really don't know.
12· · · ·Q.· · Okay.· As the HR director of sales who
13· ·handles recruiting and requisition requests in
14· ·2020, you cannot tell me whether the number of
15· ·people that were interviewed and hired is greater
16· ·than 50?
17· · · ·A.· · Well, Mr. Moreland, first off, I am not
18· ·the HR director.
19· · · ·Q.· · Excuse me.· Business partner, yes.
20· ·Thank you for correcting me.
21· · · ·A.· · Next, I really do not track every new
22· ·hire that we have.
23· · · · · · ·Could I tell you that it could be close
24· ·to 50?· It could be, but I can't give you a
25· ·definitive answer because I don't track that


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·information.
·3· · · ·Q.· · Understood.· What I'm getting at is I
·4· ·need to understand, we're talking about an
·5· ·organization that is 5,000 employees strong --
·6· · · ·A.· · Uh-huh.
·7· · · ·Q.· · -- in the U.S., I'm just curious for
·8· ·sales, how many people are being hired on a
·9· ·monthly and an annual basis.
10· · · · · · ·So if you're saying that it could be 50,
11· ·then that's an answer, but if you are telling me
12· ·that you have no idea, you don't know if it's one
13· ·or you don't know if it's 100, then, is that your
14· ·answer?
15· · · · · · ·MR. MALEY:· Mr. Coburn, I'm going to
16· · · ·object to the question.· The witness is trying
17· · · ·to answer everything truthfully and the
18· · · ·question the way it's phrased, David, is
19· · · ·compound.· So if you could rephrase the
20· · · ·specific question for her, please?
21· · · · · · ·MR. MORELAND:· Yeah.· Let me do that
22· · · ·because I do want to make sure that we have
23· · · ·this correct.
24· · · ·Q.· · Do you know if, in 2020, you hired more
25· ·than ten new sales individuals?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · I believe that we did.
·3· · · ·Q.· · More than 20?
·4· · · ·A.· · Sure.
·5· · · ·Q.· · More than 30?
·6· · · ·A.· · I would say there's a chance of hiring
·7· ·30 people.· They may not all be new hire -- new
·8· ·positions, they may be replacement positions.
·9· · · ·Q.· · Okay.· We'll talk about that in a
10· ·minute.
11· · · · · · ·More than 40?
12· · · ·A.· · In an average year or in 2020?
13· · · ·Q.· · In 2020.
14· · · ·A.· · It could have been 40, it could have
15· ·been 50.· I don't think it's more than 50.
16· · · ·Q.· · When you said that there was a
17· ·difference between a new hire and a replacement
18· ·hire, what is that?· What distinguishes -- excuse
19· ·me -- what do you mean when you refer to that?
20· · · ·A.· · What I mean is an incremental add is we
21· ·are adding to the number of sales folks in a given
22· ·territory.· A replacement hire is we are replacing
23· ·someone who is no longer with Genesys.
24· · · ·Q.· · Okay.· Do you have an understanding for
25· ·how many in 2020 would have been replacement


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·hires?
·3· · · ·A.· · Mr. Moreland, I would have to go look up
·4· ·all of that information.· I do not have our
·5· ·turnover numbers memorized.
·6· · · ·Q.· · Okay.· But that information would be --
·7· ·you would have that information at Genesys?
·8· · · ·A.· · That information could be pulled
·9· ·together, yes.
10· · · ·Q.· · In 2019 did you have more than ten
11· ·hires, whether new or replacement?
12· · · ·A.· · I believe so.
13· · · ·Q.· · More than 20?
14· · · ·A.· · It is possible.
15· · · ·Q.· · Okay.· More than 30?
16· · · ·A.· · It's possible.
17· · · ·Q.· · More than 50?
18· · · ·A.· · It's typically not.
19· · · ·Q.· · In 2018, did you have more than ten?
20· · · ·A.· · 2018, yes, I'm sure we did.
21· · · ·Q.· · Okay.· More than 20?
22· · · ·A.· · Yes, I'm sure we did.
23· · · ·Q.· · Okay.· More than 50?
24· · · ·A.· · I don't know.· I doubt it.
25· · · ·Q.· · Okay.· Do you also get notified when


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·individuals terminate their employment with
·3· ·Genesys?
·4· · · ·A.· · Yes, that is the policy or process.
·5· · · ·Q.· · In 2020, can you give me a range of how
·6· ·many people may have received termination notices?
·7· · · ·A.· · I don't know.· It could have been 20, it
·8· ·could have been 25.· I'm not sure.
·9· · · ·Q.· · Okay.· But more than 50?
10· · · ·A.· · I doubt that.
11· · · ·Q.· · Okay.· Same question, 2019, was it more
12· ·than 20 but less than 50?
13· · · ·A.· · Probably.
14· · · ·Q.· · Okay.· 2018, more than 20, less than 50?
15· · · ·A.· · Probably.
16· · · ·Q.· · Okay.· And then, in your first year
17· ·being an assistant in 2017, do you recall that
18· ·similar range, more than 20 less than 50?
19· · · ·A.· · So I wasn't there for a full year in
20· ·2017, so I don't know that I could give you -- you
21· ·know, I'm assuming it would be similar, but I
22· ·wasn't there a full year.
23· · · ·Q.· · Okay.· How many people were on the
24· ·recruiting team at Genesys?
25· · · ·A.· · Maybe -- well, I'm sorry.· Let me


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·clarify your question, the global recruiting team
·3· ·or something else?
·4· · · ·Q.· · So let me -- yeah, I'll follow that up
·5· ·with a question.
·6· · · · · · ·Of the global number of employees, how
·7· ·many are located in North America?
·8· · · ·A.· · I'm not positive, it's probably -- let's
·9· ·see, out of the 5,000, it's probably 3,000 or so.
10· · · ·Q.· · So let's just focus on the North
11· ·American recruiting team.
12· · · ·A.· · Uh-huh.
13· · · ·Q.· · How many individuals are staffed for
14· ·that team?
15· · · ·A.· · I'm not -- I'm not positive, but I think
16· ·it's probably 15.
17· · · ·Q.· · Are these full-time employees?
18· · · ·A.· · Yes.
19· · · ·Q.· · If they are -- you said it varies by
20· ·year, as far as the number of people that are
21· ·recruited.
22· · · · · · ·Do these employees get paid any less if
23· ·the year is a year where you have less employees
24· ·that need to be hired?
25· · · ·A.· · I don't know how their compensation


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·works.
·3· · · ·Q.· · Okay.· You have no idea if they are
·4· ·working on some sort of commission basis?
·5· · · ·A.· · I don't, no.
·6· · · ·Q.· · So it's very possible that if -- let me
·7· ·back up.· Strike that.
·8· · · · · · ·Does Genesys use headhunters to find
·9· ·potential recruits?
10· · · ·A.· · Not in the groups that I have worked
11· ·with, no.
12· · · ·Q.· · So you have no experience with hiring a
13· ·headhunter to replace or find a new sales
14· ·associate, for example?
15· · · ·A.· · I do not.
16· · · ·Q.· · Okay.· And to your knowledge the
17· ·recruiting team does not hire headhunters?
18· · · ·A.· · I do not believe they do.
19· · · ·Q.· · Of the 3,000 employees that are in the
20· ·U.S., how many would you say are in sales?
21· · · ·A.· · In the North America direct sales team
22· ·it's about 400, 450.
23· · · ·Q.· · And there are various divisions within
24· ·the North American sales team?
25· · · ·A.· · There are various divisions within the


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·sales team.
·3· · · ·Q.· · Okay.· Can you give me -- I'm sorry.                     I
·4· ·don't want to cut you off.· Were you about to say
·5· ·something?
·6· · · ·A.· · No.
·7· · · ·Q.· · Okay.· Can you provide to me the names
·8· ·of the various teams or organizations that fall
·9· ·under north American sales?
10· · · ·A.· · In North American sales you'll have the
11· ·enterprise sales, you'll have the mid-market
12· ·sales, you'll have velocity, you'll have
13· ·commercial, you'll have your solutions consulting
14· ·organization, there's a Canadian team.· Those are
15· ·the ones that I can think of.· Those are the ones
16· ·I can think of right now.
17· · · ·Q.· · Okay.· Let's go through each of those.
18· · · · · · ·For enterprise, what's the approximate
19· ·sales team size?
20· · · ·A.· · I don't know.· They're probably one of
21· ·the larger teams, they might be somewhere between
22· ·30 and 50.
23· · · ·Q.· · Okay.· Mid-market, what was the size of
24· ·that team?
25· · · ·A.· · Mid-market is probably between 30 and


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·40.
·3· · · ·Q.· · Velocity?
·4· · · ·A.· · Velocity is typically less than 20.
·5· · · ·Q.· · Commercial, what's the size of that
·6· ·team?
·7· · · ·A.· · A team of 30, I think.
·8· · · ·Q.· · Solutions consultants, the size of that
·9· ·team?
10· · · ·A.· · The team is over a hundred but I'm not
11· ·sure.
12· · · ·Q.· · Just so I'm aware, what type -- I mean,
13· ·what are the -- can you provide me a title of --
14· ·what are the sales personnel that would be in that
15· ·team?· I guess I'm trying to understand what's
16· ·solutions consultant.
17· · · · · · ·What does the solutions consulting team
18· ·do?
19· · · ·A.· · The solutions consultant is the
20· ·technical pre-sales team that assists the account
21· ·executive in a sale.
22· · · ·Q.· · Okay.· Do you know if David Ham is in
23· ·that group?
24· · · ·A.· · No, David is not in that group.
25· · · ·Q.· · What group is David in?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · David is in a group in the sales
·3· ·operation organization that does some training and
·4· ·demo work.
·5· · · ·Q.· · So he's in a separate group than
·6· ·enterprise, mid-market, velocity, commercial,
·7· ·solutions consulting or Canadian?
·8· · · ·A.· · Correct.
·9· · · ·Q.· · Canadian team, how large is that?
10· · · ·A.· · Less than 15.
11· · · ·Q.· · Have these team sizes grown from 2018 to
12· ·2020?
13· · · ·A.· · Some of them have.
14· · · ·Q.· · Which ones have grown?
15· · · ·A.· · Enterprise and probably our mid-market
16· ·teams.
17· · · ·Q.· · Do these sales teams have specific
18· ·products that they focus on for sales?
19· · · ·A.· · I don't know that, Mr. Moreland.
20· · · ·Q.· · Okay.· Do they focus on specific size
21· ·customers?
22· · · ·A.· · My understanding is they segment based
23· ·upon the seat counts.
24· · · ·Q.· · Do you personally know what those -- how
25· ·those segmentations break out?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·"COMPETITION" and then it has various names of
·3· ·companies in that, Genesys included.
·4· · · · · · ·Are you aware of Avaya, for example,
·5· ·being a competitor to Genesys?
·6· · · ·A.· · So as of now -- again, I can't comment
·7· ·for 2016 -- as of now, I am aware that Avaya is in
·8· ·the competitive space as Genesys, yes.
·9· · · ·Q.· · InContact also in a competitive space?
10· · · ·A.· · I believe so.
11· · · ·Q.· · Ring Central?
12· · · ·A.· · I don't know.
13· · · ·Q.· · Okay.· Five9?
14· · · ·A.· · I believe so.
15· · · ·Q.· · Cisco?
16· · · ·A.· · I don't know about cisco.
17· · · ·Q.· · Okay.· ShoreTel?
18· · · ·A.· · I don't know what that is.
19· · · ·Q.· · Okay.· That's fine.
20· · · · · · ·Do you understand Talkdesk to be in the
21· ·same competitive space with Genesys?
22· · · ·A.· · Yes.
23· · · ·Q.· · Okay.· Do you have an understanding
24· ·of -- is there a specific product that Genesys
25· ·sells that Talkdesk competes with?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · I don't know.
·3· · · ·Q.· · Okay.· In your involvement with
·4· ·recruiting, have you ever encountered a new
·5· ·employee who is changing from Avaya to Genesys?
·6· · · ·A.· · I don't know, Mr. Moreland, I don't get
·7· ·actively involved with all of the new hires.
·8· · · ·Q.· · Okay.· So sitting here today, you cannot
·9· ·recall any instances where an employee came from
10· ·Avaya to work for Genesys, is that correct?
11· · · ·A.· · Well, I believe your question was if I
12· ·was personally involved with an employee, and the
13· ·answer was no, because I'm not actively involved
14· ·with employees.
15· · · · · · ·Am I sure that individuals come from
16· ·Avaya to Genesys, I'm sure that they do.
17· · · ·Q.· · Okay.· Are you sure that individuals
18· ·come from inContact to Genesys?
19· · · ·A.· · There is a distinct possibility.
20· · · ·Q.· · Okay.· So bottom line, you're positive
21· ·that individuals who were employed with a
22· ·competitor now work for Genesys?
23· · · ·A.· · I'm sure.
24· · · ·Q.· · Do you keep any record of how many
25· ·people have come from competitors?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · I do not.
·3· · · ·Q.· · Okay.· How would I find that information
·4· ·out?
·5· · · ·A.· · I don't know.
·6· · · ·Q.· · Okay.· Does Genesys retain the resumes
·7· ·of the individuals that it hires?
·8· · · ·A.· · I'm sure.· I'm sure they're in one of
·9· ·our applicant tracking systems.
10· · · ·Q.· · So assuming that that individual had
11· ·been at a competitor, we should be able to find
12· ·that out by looking at the resumes; would you
13· ·agree with that?
14· · · ·A.· · Yes.
15· · · ·Q.· · You can put that exhibit away.· We may
16· ·reference it later, put it away for now.
17· · · · · · ·Do you also get involved with
18· ·terminating individuals at Genesys?
19· · · ·A.· · Yes.
20· · · ·Q.· · Can you tell me -- once again, we'll get
21· ·through this -- the range of individuals that you
22· ·believe may have been terminated at Genesys in
23· ·2020?
24· · · ·A.· · I have a clarifying question.· What do
25· ·you mean by "termination"?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · A knowledge base of what?
·3· · · ·Q.· · Of how to perform your job as an HR
·4· ·business partner, for example?
·5· · · ·A.· · Yes.
·6· · · ·Q.· · Okay.· And you continue to use that
·7· ·skill set at Genesys as an HR business partner?
·8· · · ·A.· · Yes.
·9· · · ·Q.· · Did you have an employment agreement
10· ·when you were at Kronos?
11· · · ·A.· · I don't remember.
12· · · ·Q.· · So you could not recall the terms of the
13· ·employment agreement, if you had one?
14· · · ·A.· · I don't remember.
15· · · ·Q.· · Okay.· Do you recall providing Genesys
16· ·with an employment agreement, during your
17· ·interview process?
18· · · ·A.· · No.
19· · · ·Q.· · Before Kronos you were with Beckman
20· ·Coulter, is that correct?
21· · · ·A.· · Yes.
22· · · ·Q.· · From 2003 to 2015, correct?
23· · · ·A.· · Yes.
24· · · ·Q.· · You were a human resource manager there?
25· · · ·A.· · Yes.


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·Q.· · Okay.· Do you recall if you had an
·3· ·employment agreement with Beckman?
·4· · · ·A.· · I don't, I don't recall.
·5· · · ·Q.· · Okay.· In your time with Genesys, do you
·6· ·recall instances where employees in a sales group
·7· ·have left to work for competitors?
·8· · · ·A.· · I don't know specifics.
·9· · · ·Q.· · Okay.· So sitting here today, can you
10· ·recall anyone who was a former employee of
11· ·Genesys, that left Genesys to be employed by a
12· ·competitor?
13· · · ·A.· · Yes.
14· · · ·Q.· · Who?
15· · · ·A.· · Mr. Manno.
16· · · ·Q.· · Anyone else?
17· · · ·A.· · Mr. Hertel.
18· · · ·Q.· · Okay.· Anyone else?
19· · · ·A.· · Mr. Strahan.
20· · · ·Q.· · Anyone else?
21· · · ·A.· · Ms. Morales.
22· · · ·Q.· · Okay.· So outside of the defendants in
23· ·this lawsuit, can you recall anyone else leaving
24· ·Genesys and going to work for a competitor?
25· · · ·A.· · Mr. Ward.


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·Q.· · Okay.· Who else?
·3· · · ·A.· · Mr. Karras.
·4· · · ·Q.· · Okay.· I won't go through the whole
·5· ·list, but what I do want to find out, is it
·6· ·frequent that it happens or infrequent?
·7· · · ·A.· · I don't know.
·8· · · ·Q.· · Okay.· How do you actually find out if
·9· ·they're going to a competitor?
10· · · ·A.· · They will choose to tell us.
11· · · ·Q.· · Do you ask if they're going to a
12· ·competitor when they resign?
13· · · ·A.· · I do not personally ask that because I
14· ·don't -- I do not personally ask that.
15· · · ·Q.· · Okay.· Do you personally sit in on exit
16· ·interviews for people that are resigning from
17· ·Genesys?
18· · · ·A.· · Not for all of Genesys, no.
19· · · ·Q.· · Just for the sales team that you oversee
20· ·or work with?
21· · · ·A.· · Yes.
22· · · ·Q.· · Okay.· So in that exit interview it's
23· ·not your practice to ask who the employee who is
24· ·resigning is going to go to work with in their
25· ·future employment?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · No.
·3· · · ·Q.· · Do you know if anyone asks that question
·4· ·at Genesys?
·5· · · ·A.· · I don't.
·6· · · ·Q.· · Would you characterize that as an
·7· ·irrelevant fact?
·8· · · ·A.· · No.
·9· · · ·Q.· · Okay.· Why not?
10· · · ·A.· · It is -- it is relevant to ensure that,
11· ·you know, we know where folks are going.· And each
12· ·person that leaves, we remind them, regardless of
13· ·whether they're going to a competitor or not.· We
14· ·remind them that, you know, they are not to take
15· ·proprietary Genesys information.
16· · · ·Q.· · Okay.· But the first part of that --
17· · · ·A.· · Uh-huh.
18· · · ·Q.· · -- asking where they're going, knowing
19· ·that they're going to a competitor, that's
20· ·irrelevant; would you agree?
21· · · ·A.· · I'm sorry, I didn't.· Did you say
22· ·irrelevant?
23· · · ·Q.· · Irrelevant.
24· · · ·A.· · So from what I work with the employees
25· ·on, it is irrelevant.


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·Q.· · Okay.· You said you remind the employees
·3· ·not to take proprietary Genesys information, is
·4· ·that correct?
·5· · · ·A.· · Yes.
·6· · · ·Q.· · Can I -- I'm going to give you a
·7· ·document to look at here.· Sorry about this.· You
·8· ·should have this.
·9· · · · · · ·Do you have the document that at the
10· ·bottom says -- has a number that ends in 415?
11· · · ·A.· · I'm not sure.· Let me try -- potential
12· ·security issue -- I'm sorry.· Where would I see
13· ·that 415 you're referring to?
14· · · ·Q.· · Sure.· It should be in the bottom
15· ·right-hand corner of the document.
16· · · ·A.· · Yes.· Yes, I see that.
17· · · ·Q.· · And this document says, on the first
18· ·page "Signed Agreement Certification Form."· This
19· ·will be Coburn Exhibit 3, which is, for the record
20· ·Genesys production number GEN500012415 through
21· ·417.
22· · · · · · · · · (Exhibit 3 Coburn, Genesys, Side
23· · · · · · · · · Agreement Certification Form, David
24· · · · · · · · · Ham, 10-17-13, Bates stamped
25· · · · · · · · · GEN500012415 through 500012417, was


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · · · · · · · marked for the purposes of
·3· · · · · · · · · identification.)
·4· · · ·Q.· · If you'll look at the second page of
·5· ·this document?
·6· · · · · · ·And I believe you said that you inform
·7· ·individuals that are leaving Genesys, in their
·8· ·exit interview, remind them not to -- I can't
·9· ·remember how you phrased it, so I don't want to
10· ·paraphrase -- but you remind them of their
11· ·obligations relating to confidential information,
12· ·is that correct?
13· · · ·A.· · Yes.
14· · · ·Q.· · Okay.· Is this form that we see here at
15· ·Genesys 500012416, is this how you remind
16· ·individuals of that information?
17· · · ·A.· · Yes.
18· · · ·Q.· · Do you orally tell them?
19· · · ·A.· · No.
20· · · ·Q.· · Okay.· So if someone doesn't sign --
21· ·doesn't see this form and sign it, then they would
22· ·not be reminded of their obligations of
23· ·confidentiality or of their employment agreement,
24· ·for example, correct?
25· · · ·A.· · Yes.


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·Q.· · This is a document for Mr. Ham, you
·3· ·agree?
·4· · · ·A.· · It appears that way.
·5· · · ·Q.· · So Mr. Ham had an exit interview, would
·6· ·you agree with that?
·7· · · ·A.· · I don't know.
·8· · · ·Q.· · Okay.· But you would have been -- you
·9· ·would have attended this exit interview if he had
10· ·one?
11· · · ·A.· · I don't believe that he was in the
12· ·client groups that I support.
13· · · ·Q.· · Okay.· Thank you.· That's a good point.
14· ·Yeah.
15· · · · · · ·But this form, though, would be similar
16· ·or would be the same form that you would use in
17· ·your client groups, correct?
18· · · ·A.· · Yes.
19· · · ·Q.· · Okay.· Do you know if Mr. Hertel signed
20· ·a form similar to what we're looking at in Coburn
21· ·Exhibit 3?
22· · · ·A.· · I don't know.
23· · · ·Q.· · Do you know if Mr. Hertel had an exit
24· ·interview?
25· · · ·A.· · I don't remember.


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·Q.· · So it's very possible that Mr. Hertel
·3· ·was not reminded of any confidentiality
·4· ·obligations when he left his employment with
·5· ·Genesys; do you agree?
·6· · · ·A.· · So our standard process is when an
·7· ·employee gives their resignation to their manager,
·8· ·their manager sends it over to me, an e-mail goes
·9· ·out to that employee with that document attached
10· ·to it for exiting purposes.
11· · · ·Q.· · I'm sorry.· What was that last part?
12· · · ·A.· · For exiting purposes, so they receive an
13· ·e-mail with this information.
14· · · ·Q.· · So if there's no record of Mr. Hertel
15· ·receiving this document via e-mail, it's safe to
16· ·assume he did not receive this document?
17· · · ·A.· · Could you rephrase your question,
18· ·please?
19· · · ·Q.· · Sure.· If Mr. Hertel would have received
20· ·this information and there is no e-mail with this
21· ·information in it to Mr. Hertel, it's safe to
22· ·assume that he did not receive it when he resigned
23· ·from Genesys, correct?
24· · · ·A.· · Yes.
25· · · ·Q.· · Do you know if Mr. --· I'll group them


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·together -- Mr. Manno and Mr. Strahan signed this
·3· ·form?
·4· · · ·A.· · I don't know.
·5· · · ·Q.· · Do you know if they received an e-mail
·6· ·with this form?
·7· · · ·A.· · I don't know.
·8· · · ·Q.· · If they did not receive an e-mail with
·9· ·this form, it's safe to say that they just did not
10· ·receive this form, correct?
11· · · ·A.· · Yes.
12· · · ·Q.· · So Mr. Manno and Mr. Hertel may not have
13· ·been reminded of their confidentiality obligations
14· ·when they left their employment with Genesys,
15· ·correct?
16· · · ·A.· · Yes.
17· · · ·Q.· · Are you aware of anyone at Genesys -- I
18· ·think, I apologize, I may have asked this question
19· ·before.· I apologize if I asked it before.
20· · · · · · ·Are you aware of anyone at Genesys
21· ·providing Mr. Manno or Mr. Hertel or Mr. Strahan a
22· ·copy of their employment agreements with
23· ·Interactive Intelligence prior to them leaving
24· ·their employ with Genesys?
25· · · ·A.· · I don't know.


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·Q.· · So you can't say one way or the other?
·3· · · ·A.· · I cannot.
·4· · · ·Q.· · So it's possible they did not receive a
·5· ·copy of their prior employment agreements with
·6· ·Interactive Intelligence, before they left their
·7· ·employ with Genesys?
·8· · · ·A.· · I do not know.
·9· · · ·Q.· · You personally do not provide copies?
10· · · ·A.· · I do not recall providing them copies of
11· ·anything.
12· · · ·Q.· · Is it -- if Genesys had wanted to remind
13· ·these individuals that they had agreements with
14· ·Interactive Intelligence -- I'm sorry, strike that
15· ·question.· We'll move on.
16· · · · · · ·Does Genesys send offer letters when
17· ·it's hiring new employees for the sales team?
18· · · ·A.· · Yes.
19· · · ·Q.· · I'm going to drop another file for you.
20· ·This will be Coburn Exhibit 4.
21· · · ·A.· · I'm sorry, you said it was -- I see
22· ·Coburn 2.
23· · · ·Q.· · Sure.· Yeah.· That's my prior numbering,
24· ·so just disregard that.
25· · · ·A.· · Yeah.· Okay.


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·Q.· · For the purposes of the court reporter,
·3· ·this will be Coburn Exhibit 4.· It has a Bates
·4· ·number GEN500012092 through 113.
·5· · · · · · · · · (Exhibit 4 Coburn, Genesys, 2-9-17,
·6· · · · · · · · · Diane Sparks offer letter, Bates
·7· · · · · · · · · stamped GEN500012092 through
·8· · · · · · · · · 500012113, was marked for the
·9· · · · · · · · · purposes of identification.)
10· · · ·Q.· · Does this document look familiar to you?
11· · · ·A.· · It is not personally familiar to me, no.
12· · · ·Q.· · But it looks like a Genesys offer
13· ·letter, correct?
14· · · ·A.· · It looks that way.
15· · · ·Q.· · This one in particular is to Ms. Sparks;
16· ·do you agree?
17· · · ·A.· · In reading it, it looks that way.
18· · · ·Q.· · If you'll just note at the top, it's
19· ·dated February 9th, 2017, correct?
20· · · ·A.· · Yes.
21· · · ·Q.· · And it states, if you'll look in the --
22· ·let me find it -- if you'll look in the "Position
23· ·and Start Date," you'll see the third paragraph,
24· ·"We anticipate that your start date will be
25· ·February 20th, 2017."


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · · · · ·Do you see that?
·3· · · ·A.· · Yes.
·4· · · ·Q.· · Okay.· So you agree this -- for this
·5· ·particular offer letter, it was sent prior to the
·6· ·first date of employment, correct?
·7· · · ·A.· · It -- based upon reading the dates, yes.
·8· · · ·Q.· · Is that typical, that the offer letter
·9· ·would be sent prior to the start of employment?
10· · · ·A.· · Yes.
11· · · ·Q.· · Is it typical that the prospective
12· ·employee will sign it prior to start of
13· ·employment?
14· · · ·A.· · Yes.
15· · · ·Q.· · Okay.· Despite the fact that the
16· ·employee has signed the offer letter in advance of
17· ·employment, that prospective employee is not
18· ·working for Genesys until their start date; would
19· ·you agree with that?
20· · · ·A.· · Yes.
21· · · ·Q.· · As a part of the recruiting process,
22· ·does Genesys ask the recruits to provide
23· ·information, I guess, pre-employment information?
24· · · ·A.· · I'm not -- I'm not sure.
25· · · ·Q.· · Okay.· Does Genesys ask that the


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·employee, for example, execute tax withholding
·3· ·forms prior to the first day of employment?
·4· · · ·A.· · I'm not sure.
·5· · · ·Q.· · Okay.· Is it possible that they could do
·6· ·that?
·7· · · ·A.· · It could be possible.· It could be
·8· ·possible that it doesn't occur until the day the
·9· ·person starts, I'm not sure.
10· · · ·Q.· · Okay.· It could be either/or then?
11· ·There's a possibility it could be either/or?
12· · · ·A.· · Yes.
13· · · ·Q.· · Okay.· Thank you.· Sorry.
14· · · · · · ·What about training materials, have you
15· ·known instances where training materials have been
16· ·provided to the employee for them to prepare for
17· ·their first day of employment?
18· · · ·A.· · Not that I'm aware of.
19· · · ·Q.· · How about itineraries for their first
20· ·day of employment?
21· · · ·A.· · Possibly.· It's possible.
22· · · ·Q.· · Okay.· And in the recruiting process,
23· ·the prospective employee meets with individuals
24· ·from Genesys via telephone, in person?· What are
25· ·the various ways that they may communicate with


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·Genesys about -- during the recruiting process?
·3· · · ·A.· · Just to make sure I understand your
·4· ·question, your question was how would Genesys
·5· ·employees communicate with prospective candidates?
·6· · · ·Q.· · We can start there.
·7· · · ·A.· · Well, I'm sorry then, I don't understand
·8· ·your question.
·9· · · ·Q.· · That's good.
10· · · · · · ·How do they communicate?· How do Genesys
11· ·employees communicate with prospective employees,
12· ·prior to their employment?
13· · · ·A.· · It could be via phone, e-mail, zoom or
14· ·in-person interviews.
15· · · ·Q.· · Okay.· If it's an in-person interview,
16· ·do the candidates sometimes fly to the location
17· ·where they're being interviewed?
18· · · ·A.· · I'm not sure.
19· · · ·Q.· · Again, that's a possibility?
20· · · ·A.· · It is.
21· · · ·Q.· · And Genesys would pay for the cost of
22· ·the flight?
23· · · ·A.· · Yes.
24· · · ·Q.· · Are you aware of Genesys providing
25· ·advance information regarding the e-mail that the


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·individual will have once flown to Genesys.
·3· · · ·A.· · Not that I'm aware of.
·4· · · ·Q.· · It's possible that could happen?
·5· · · ·A.· · I don't know.
·6· · · ·Q.· · I'm going to drop one more offer letter
·7· ·into the chat, this is Coburn Exhibit 5, for the
·8· ·purpose of the record, which bears production
·9· ·number GEN500012039 to 049.
10· · · · · · · · · (Exhibit 5 Coburn, Genesys offer
11· · · · · · · · · letter, 2-19-16, Susanne Sayer,
12· · · · · · · · · Bates stamped GEN5000500012039
13· · · · · · · · · through 500012049, was marked for
14· · · · · · · · · the purposes of identification.)
15· · · ·Q.· · This is an Interactive Intelligence
16· ·offer letter provided by Genesys to Susanne Sayer.
17· · · · · · ·Can you see her name there?· It's a
18· ·little hard to see?
19· · · ·A.· · It is difficult to see.
20· · · ·Q.· · Would you agree that this appears to be
21· ·a -- it says, "Dear Susanne"?
22· · · · · · ·Do you see that?
23· · · ·A.· · Yes.
24· · · ·Q.· · And above that you see Sayer is the last
25· ·name?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · The only one I'm aware of is President's
·3· ·Club.
·4· · · ·Q.· · Do you know what it means to be in the
·5· ·President's Club?
·6· · · ·A.· · It means -- well, it means that you've
·7· ·hit a certain quota achievement.
·8· · · ·Q.· · Do you know what that is, by chance?
·9· · · ·A.· · I'm actually not sure what it is right
10· ·now, no.
11· · · ·Q.· · Does it change year to year or is it the
12· ·same?
13· · · ·A.· · I don't know.
14· · · ·Q.· · Okay.· Part of the negotiating process
15· ·is to negotiate, in certain instances at least, to
16· ·negotiate with the candidate on a salary for their
17· ·position at Genesys; do you agree?
18· · · ·A.· · Yes.
19· · · ·Q.· · Is it, in your experience, a
20· ·take-it-or-leave-it scenario?
21· · · ·A.· · It can be.
22· · · ·Q.· · Okay.· But in other cases it is a
23· ·negotiation, where you can have a counteroffer
24· ·from the prospective recruit?
25· · · ·A.· · Yes.


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·Q.· · Okay.· What training do you provide to
·3· ·new employees when they're onboarded, from an HR
·4· ·perspective?
·5· · · ·A.· · From an HR perspective?
·6· · · · · · ·From an HR perspective, they go through
·7· ·new-hire orientation, is the predominant as a new
·8· ·hire.
·9· · · ·Q.· · And what does the new-hire orientation
10· ·involve?
11· · · ·A.· · The new-hire orientation gives an
12· ·overview of the company, it gives an overview of
13· ·the benefits, how the pay works, things like that.
14· · · ·Q.· · Does -- as part of this new-hire
15· ·orientation, does someone explain to these new
16· ·hires what information at Genesys is considered
17· ·confidential or proprietary or trade secret?
18· · · ·A.· · Not in the new-hire orientation.
19· · · ·Q.· · Okay.· Is there a separate training that
20· ·provides that information to new hires?
21· · · ·A.· · So it is my understanding that as part
22· ·of your offer letter, you sign information around
23· ·proprietary information, as well as there are
24· ·some -- there is a compliance training that new
25· ·hires are required to take within a period of time


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·of starting.
·3· · · ·Q.· · Okay.· To your knowledge, are these the
·4· ·only two reference points that are provided to the
·5· ·new hires as to what constitutes confidential or
·6· ·trade-secret information?
·7· · · ·A.· · There may also be something in the
·8· ·employee handbook, but those are the ones that I
·9· ·am personally aware of.
10· · · ·Q.· · Let's look at -- I believe I've got the
11· ·right document here, if you will bear with me.· It
12· ·is labeled as Coburn W, but it will be Coburn
13· ·Exhibit 6.· Which bears a production number of
14· ·GEN500053830 through 53849.
15· · · · · · · · · (Exhibit 6 Coburn, Genesys
16· · · · · · · · · Information Asset Management
17· · · · · · · · · Policy, Version 1.4, Bates stamped
18· · · · · · · · · GEN500053830 through 500053849, was
19· · · · · · · · · marked for the purposes of
20· · · · · · · · · identification.)
21· · · ·Q.· · Let me know when you've opened that
22· ·document up.
23· · · ·A.· · Yes, I have opened it.
24· · · ·Q.· · If you'll go to what is Page 5, it ends
25· ·with 834 at the bottom.· I'm sorry.· Strike that.


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · · · · ·If you would just look at this document.
·3· ·Is this one of the documents that you were
·4· ·referring to before, as to what is provided to new
·5· ·hires?
·6· · · ·A.· · It could be.· This document is dated
·7· ·prior to my start time with Genesys.
·8· · · ·Q.· · Okay.· Understood.
·9· · · · · · ·Are you aware of any document like this
10· ·being provided by Interactive Intelligence to its
11· ·employees?
12· · · ·A.· · I don't know.
13· · · ·Q.· · Does Genesys provide information, asset
14· ·management policy, a document like this to new
15· ·hires today?
16· · · ·A.· · I don't know.
17· · · ·Q.· · All right.· If you'll look at Page 3 of
18· ·this document.· I apologize, but the writing is
19· ·sort of small, so.· Let me know when you get to
20· ·it.
21· · · ·A.· · I'm sorry.· You said Page 3?
22· · · ·Q.· · Yes, Page 3.· On the bottom right-hand
23· ·corner it says 3 and it's 834 is the production
24· ·number, as well.
25· · · ·A.· · 832, 833 -- 834 is what you said?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·Q.· · Yes.
·3· · · ·A.· · Okay.
·4· · · ·Q.· · Okay.· You'll see Section 2, it says
·5· ·"Information Classification" and "2.1
·6· ·Classification Guidelines."
·7· · · · · · ·Do you see that?
·8· · · ·A.· · Yes.
·9· · · ·Q.· · And it says, "Classification Levels" and
10· ·it says, "CONFIDENTIAL."
11· · · · · · ·Do you see that?
12· · · ·A.· · Yes.
13· · · ·Q.· · First, again, is this a document -- is
14· ·this document provided by HR to employees?
15· · · ·A.· · Again, as I've said, this document is a
16· ·document that predates my time working for
17· ·Genesys.
18· · · ·Q.· · Is there a document that you're aware
19· ·of, that is provided to new hires, that sets out
20· ·classification guidelines?
21· · · ·A.· · I'm not sure.
22· · · ·Q.· · Okay.· I'm just going to ask you
23· ·quickly.· You can see that the level is designated
24· ·as confidential on this page, and it gives a
25· ·description of the information.· I'll let you read


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·1· · · · · · · · · · · · · ·J. Coburn
·2· ·that over if you want to, but it then goes on to
·3· ·say, "Examples Include," and I'm quoting,
·4· ·"Examples include trade secrets."
·5· · · · · · ·My question is:· Are you aware of any
·6· ·document that further defines what a trade secret
·7· ·is, that is provided to employees at Genesys?
·8· · · ·A.· · I'm not sure.
·9· · · ·Q.· · Do you, yourself, know whether a trade
10· ·secret includes, for example, information that's
11· ·provided to customers?
12· · · ·A.· · I'm not sure.
13· · · ·Q.· · Are you aware that Genesys provides its
14· ·pricing information on its website?· Would you
15· ·agree?
16· · · ·A.· · I don't know.
17· · · · · · ·MR. MALEY:· I'm going to object to the
18· · · ·form of the question, the term "pricing
19· · · ·information."
20· · · · · · ·MR. MORELAND:· That's fine.
21· · · ·Q.· · You're not aware of that?
22· · · ·A.· · I'm not aware of -- I'm sorry.· I'm not
23· ·aware of what?
24· · · ·Q.· · Of pricing information being provided on
25· ·Genesys' website?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · I am not.
·3· · · ·Q.· · I'm going to drop something again to you
·4· ·real quick, just to see if this refreshes your
·5· ·recollection on this issue.
·6· · · · · · ·This will be Coburn Exhibit 6.· It's a
·7· ·print-out from Genesys' web page?
·8· · · · · · ·MR. MALEY:· David, did you have 6
·9· · · ·already?
10· · · · · · ·MR. MORELAND:· I'm sorry.· Thank you.
11· · · ·Q.· · This is Coburn Exhibit 7, which I will
12· ·note is a printout from Genesys' website that was
13· ·introduced as Exhibit 202 in a prior proceeding,
14· ·the preliminary injunction phase of this case.
15· · · · · · · · · (Exhibit 7 Coburn, Exhibit 202,
16· · · · · · · · · GENESYS moments connected,
17· · · · · · · · · PureCloud pricing, no Bates stamps,
18· · · · · · · · · was marked for the purposes of
19· · · · · · · · · identification.)
20· · · ·Q.· · Have you ever seen the website or
21· ·Genesys' website where it provides this pricing
22· ·information?
23· · · ·A.· · I have not seen this information before.
24· · · ·Q.· · All right.· But you agree, if this is
25· ·from Genesys' website, Genesys does provide


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · No.· I mean, just to let my boss know.
·3· · · ·Q.· · Right.· Understood.
·4· · · ·A.· · She does need to know what I'm doing
·5· ·during the day.
·6· · · ·Q.· · Understood.· Yeah.
·7· · · · · · ·Do you know how your marketing team
·8· ·develops leads for potential customers?
·9· · · ·A.· · No clue.
10· · · ·Q.· · Are you aware of customers providing
11· ·information about the products they receive from
12· ·Genesys or their -- let me stop there.
13· · · · · · ·Are you aware of any customers
14· ·providing, on any type of social media or
15· ·otherwise over the internet, about being a
16· ·customer of Genesys?
17· · · ·A.· · Not that I'm aware of.
18· · · ·Q.· · Are you aware of customers posting
19· ·reviews of Genesys' products on the internet?
20· · · ·A.· · No.
21· · · ·Q.· · Do you know what Gartner is?
22· · · ·A.· · Yes.
23· · · ·Q.· · What is Gartner?
24· · · ·A.· · Gartner is an independent entity that
25· ·rates tech companies.


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·Q.· · Are you aware of Gartner providing
·3· ·information about Genesys products and services as
·4· ·a part of that rating process?
·5· · · ·A.· · I am not.
·6· · · ·Q.· · Have you ever read the Gartner
·7· ·information relating to Genesys?
·8· · · ·A.· · No.
·9· · · ·Q.· · Have you ever heard of SalesIntel?
10· · · ·A.· · No.
11· · · ·Q.· · Have you ever heard of ZoomInfo?
12· · · ·A.· · No.
13· · · ·Q.· · Have you heard of DiscoverOrg?
14· · · ·A.· · I don't think so.
15· · · ·Q.· · During your time with Genesys, in
16· ·particular, early in 2017 and 2018, were you aware
17· ·of prior interactive communications employees
18· ·having issues with the culture at Genesys?
19· · · ·A.· · I am aware that there were cultural
20· ·issues, I don't know that I could give you
21· ·anything specific.
22· · · ·Q.· · So let's start with there were concerns
23· ·made to you about cultural issues relating to
24· ·Genesys by former Interactive Intelligence
25· ·employees.


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · I wouldn't state it as concerns, I would
·3· ·state it as during exit interviews, that it was
·4· ·not uncommon for that to be one of the factors in
·5· ·them deciding to leave.
·6· · · ·Q.· · Okay.· And what was the -- what type of
·7· ·information did they provide as to reasons why
·8· ·that was a factor for them?
·9· · · ·A.· · So what I will state is I can't give
10· ·specifics, it was a couple of years ago.
11· · · ·Q.· · Understood.
12· · · ·A.· · In general, it's really around the
13· ·culture is different, Interactive didn't have as
14· ·many processes or standards or rules or expect a
15· ·lot.· Interactive didn't expect the level of
16· ·collaboration that Genesys did.
17· · · ·Q.· · So there were more hoops to jump
18· ·through, would that be an accurate way of saying
19· ·it?
20· · · ·A.· · I didn't say that.
21· · · ·Q.· · It's incorrect?
22· · · ·A.· · I said that there were more processes.
23· · · ·Q.· · Okay.· All right.· So there were more
24· ·processes at Genesys than there were at
25· ·Interactive Intelligence?


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·1· · · · · · · · · · · · · ·J. Coburn
·2· · · ·A.· · That is the feedback I've heard.· Again,
·3· ·I didn't work for Interactive Intelligence, so I
·4· ·don't know.
·5· · · ·Q.· · Understood.
·6· · · · · · ·Do you know if any of the individuals
·7· ·that we've -- that we went over earlier -- and we
·8· ·can pull the list out again if we need to -- but
·9· ·the people that moved from Genesys to Talkdesk,
10· ·around the 2018 timeframe, if any of those
11· ·individuals were looking for employment or
12· ·expressing concerns about employment with Genesys?
13· · · ·A.· · Not that I -- not that I remember.
14· · · ·Q.· · Okay.· So, to your knowledge, you can't
15· ·recall receiving from those individuals any
16· ·specific concerns about the culture at Genesys in
17· ·that timeframe?
18· · · ·A.· · As I said, it's been a couple of years,
19· ·I don't remember specifics.
20· · · ·Q.· · Okay.· Do you know -- some of those
21· ·individuals were previously employed with
22· ·Interactive Intelligence; do you agree with that?
23· · · ·A.· · I believe so.
24· · · ·Q.· · Okay.· So it's possible that some of
25· ·those employees experienced the same cultural


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